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                                                                                                     Transmittal Number: 21766405
Notice of Service of Process                                                                            Date Processed: 07/17/2020

Primary Contact:           State Farm Enterprise SOP
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       State Farm Mutual Automobile Insurance Company
                                              Entity ID Number 3461675
Entity Served:                                State Farm Mutual Automobile Insurance Company
Title of Action:                              Alexandra Gilham vs. State Farm Mutual Automobile Insurance Company
Matter Name/ID:                               Alexandra Gilham vs. State Farm Mutual Automobile Insurance Company
                                              (10377239)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Clay County Circuit Court, MO
Case/Reference No:                            20CY-CV05519
Jurisdiction Served:                          Missouri
Date Served on CSC:                           07/16/2020
Answer or Appearance Due:                     30 Days
Originally Served On:                         MO Dept. of Commerce and Insurance on 07/15/2020
How Served:                                   Certified Mail
Sender Information:                           Joseph R. Hillebrand
                                              314-421-0216

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
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